Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 1 of 17 PageID 46




                       EXHIBIT B
                     Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 2 of 17 PageID 47




       US6791898                                    Analog Devices – ADSP-BF525 (“The Accused product”)
7. A memory device        The accused product discloses a memory device (e.g., memory in ADSP-BF525 processors).
comprising:




                          https://www.analog.com/en/index.html
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 3 of 17 PageID 48




     https://www.analog.com/en/products/adsp-bf525.html#product-overview
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 4 of 17 PageID 49




     https://www.analog.com/media/en/technical-documentation/data-sheets/ADSP-
     BF522_BF523_BF524_BF525_BF526_BF527.pdf
                     Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 5 of 17 PageID 50




                           https://www.analog.com/media/en/technical-documentation/data-sheets/ADSP-
                           BF522_BF523_BF524_BF525_BF526_BF527.pdf

an array of memory cells   The accused product discloses an array of memory cells for storing data.
for storing data;
                           As shown below, ADSP-BF525 discloses use of Internal/external memory which comprises an array of memory
                           cells for storing data.
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 6 of 17 PageID 51




     https://www.analog.com/en/products/adsp-bf525.html#product-overview
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 7 of 17 PageID 52




     https://www.analog.com/media/en/technical-documentation/data-sheets/ADSP-
     BF522_BF523_BF524_BF525_BF526_BF527.pdf
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 8 of 17 PageID 53




     https://www.analog.com/media/en/technical-documentation/data-sheets/ADSP-
     BF522_BF523_BF524_BF525_BF526_BF527.pdf
                       Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 9 of 17 PageID 54




                               https://www.analog.com/media/en/technical-documentation/data-sheets/ADSP-
                               BF522_BF523_BF524_BF525_BF526_BF527.pdf

an                             The accused product discloses an asynchronous/synchronous logic (e.g. Asynchronous/synchronous mode)
asynchronous/synchronou        coupled to a plurality of control signals (e.g. SYNC, AWE, DMAEN, etc) and said array of memory cells, wherein
s logic coupled to a           asynchronous transfer of data stored in said array of memory cells is provided based upon a first state of said
plurality of control signals   control signals (e.g. SYNC set to 0, AWE set to 0, etc.) and wherein synchronous transfer of data stored in said
and said array of memory       array of memory cells is provided based upon a second state of said control signals (e.g. SYNC set to 1, AWE set
cells, wherein                 to 1, etc.).
                      Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 10 of 17 PageID 55




asynchronous transfer of
data stored in said array of
memory cells is provided
based upon a first state of
said control signals and
wherein synchronous
transfer of data stored in
said array of memory cells
is provided based upon a
second state of said
control signals; and


                               https://www.analog.com/en/products/adsp-bf525.html#product-documentation
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 11 of 17 PageID 56




      https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf




      https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 12 of 17 PageID 57




      https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf




      https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf
                      Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 13 of 17 PageID 58




                              https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf

a configuration register      The accused product discloses a configuration register coupled to said asynchronous/synchronous logic (e.g.,
coupled to said               Asynchronous/synchronous mode), wherein said first state of said control signals (e.g., SYNC set to 0, AWE set
asynchronous/synchronou       to 0) or said second state of said control signals (e.g., SYNC set to 1, AWE set to 1, etc.) is latched for access by
s logic, wherein said first   said asynchronous/synchronous logic (e.g., Asynchronous/synchronous mode).
state of said control
signals or said second
state of said control
signals is latched for
access by said
asynchronous/synchronou
s logic.
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 14 of 17 PageID 59




      https://www.analog.com/en/products/adsp-bf525.html#product-documentation
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 15 of 17 PageID 60




      https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf




      https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 16 of 17 PageID 61




      https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf




      https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf
Case 8:21-cv-02308-TPB-AAS Document 1-2 Filed 09/29/21 Page 17 of 17 PageID 62




      https://www.analog.com/media/en/dsp-documentation/processor-manuals/ADSP-BF52x_hwr_rev1.2.pdf
